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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION


             UNITED STATES OF AMERICA               :
                                                    :
                                                    :
                   v.                               :    CRIMINAL ACTION NO.
                                                    :    1:10-CR-00086-09-RWS
             KENEDIS BONILLA,                       :
                                                    :
                         Defendant.                 :



                                                ORDER

                   This case is before the Court for consideration of the Report and

             Recommendation [577] of Magistrate Judge E. Clayton Scofield, III. After

             reviewing the Report and Recommendation, it is received with approval and

             adopted as the Opinion and Order of this Court. Accordingly, the Motions to

             Suppress [344, 356] are hereby DENIED.

                   SO ORDERED this 16th day of September, 2011.



                                                   _______________________________
                                                   RICHARD W. STORY
                                                   UNITED STATES DISTRICT JUDGE




AO 72A
(Rev.8/82)
